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 8                                IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   SALVADOR MENA,                                          No. 2:03-cv-2024-MCE-GGH-P

12                   Plaintiff,

13           v.                                              ORDER

14   MIKE KNOWLES, et al.,

15                   Defendants.

16                                         /

17           Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action seeking relief

18   under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge pursuant to

19   28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

20           On February 23, 2007, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within twenty days. Plaintiff’s March 15,

23   2007, request for an extension of time to file objections was denied by order filed March 16,

24   2007.

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 1          The court has reviewed the file and finds the findings and recommendations to be

 2   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

 3   ORDERED that:

 4          1. The findings and recommendations filed February 23, 2007, are adopted in full; and

 5          2. Defendants’ motion for summary judgment, filed June 30, 2006, is granted, and

 6   judgment is entered for defendants.

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      Dated: March 29, 2007
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                                                 ________________________________
 9                                               MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
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